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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUⅣ IBIA

 UNITED STATES OF AⅣ IERICA                         Case No。

                                                    VIOLAT10N:
                                                    18 UoSoC。     §201(Bribery)



                                                    FORFEITURE:
                                                    18 UoS.C.§ 981(a)(1)(C);
                                                    28 UoSC。 §2461(c);
                                                    and 21 UoS.C。 §853(p)




                                         INFORMATION

       The United States Attorney charges:

                                           COUNT ONE

       Between on or about August 23, 2015, through on or about October I        l,   2017, in the District

of Columbia and elsewhere, the defendant, MARVIN PARKER, directly and indirectly, comrptly

did give, offer, and promise anything of value to a public official with the intent to influence any

official act and to induce such public officialto do and omit to do any act in violation of his lawful

and official duty; that is, PARKER paid Person      I   and Person 2, employees with the District       of

Columbia Metropolitan Police Department, money to influence Person              I and Person 2 in the
performance of official acts and to induce Person       I   and Person 2 to violate lawful and official

duties to MPD, and provide PARKER with Traffic Crash Reports and information contained

within Traffic Crash Reports, in violation of MPD General Orders and District of Columbia law.

        (Bribery of a Public Official, in violation of l8 U.S.C. $$ 201(bXl)(A) and (C)).
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                                     FORFEITURE ALLEGATION

        I   .   Upon conviction of the offense alleged in Count One, the defendant shall forfeit to

the United States any propertyJ real or personal, which constitutes or is derived from proceeds

traceable to this offense, pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title

28, United States Code, Section 2461(c). The United States will also seek a forfeiture money

judgment against the defendant equal to the value of any property, real or personal, which

constitutes or is derived from proceeds traceable to this offense.

       2.       lf   any   ofthe property described above as being subject to forfeiture,   as a result   of

any act or omission ofthe defendant:

                a.         cannot be located upon the exercise ofdue diligence;

                b.         has been transferred or sold to, or deposited with, a third party;


                c.         has been placed beyond thejurisdiction    ofthe Court;

                d.         has been substantially diminished in value; or


                e.         has been commingled with other property that cannot be divided without


                           difficulty;
                                                      う４
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the defendant shall forfeit to the United States any other property   ofthe defendant, up to the value

ofthe property described above, pursuant to Title 21, United States Code, Section 853(p).

 (Criminal Forfeiture, pursuant to Title18, United States Code, Section 981(a)(l)(C), Title 28,
     United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))


                                                      JESSIE K, LIU
                                                      United States Aftomey
                                                      D.C. Bar No. 472845


                                              By:     22.--zzv/---r.-
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